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                                                                                              EXHIBIT A




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DEREK KHANNA, individually and derivatively  )
on behalf of Shimbly Corporation,            )
                                             )
          Plaintiff,                         )
                                             )
v.                                           )                   Case No. 21-cv-5752
                                             )
                                             )                   Hon. Judge Virginia M. Kendall
KATELYNN BANKS, and                          )                   Magistrate Judge Susan E. Cox
MARYAM HUSSEIN,                              )
                                             )                  JURY TRIAL DEMANDED
          Defendants, and                    )
                                             )
SHIMBLY CORPORATION, a Delaware              )
corporation                                  )
                                             )
          Nominal Defendant.                 )
____________________________________________ )

AFFIDAVIT OF HILLARD M. STERLING IN FURTHER SUPPORT OF PLAINTIFF’S
  MOTION FOR RULE 37(b)(2) SANCTIONS AND FOR RULE TO SHOW CAUSE

       I, Hillard M. Sterling, declare and certify under penalty of perjury that the following is true

and correct:

       1.      I am a Partner with the law firm of Roetzel & Andress LPA, and Counsel for

Plaintiff Derek Khanna (“Plaintiff”) in the above-captioned action. I am admitted to practice law

before this Court. I possess personal knowledge of the matters set forth in this Affidavit, which is

made and filed in further support of Plaintiff’s Motion for Rule 37(b)(2) Sanctions and for Rule to

Show Cause (Doc. No. 90).

       2.      In the course of the above-captioned action, I created or received copies of the

documents described herein.
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       3.      Attached hereto as Exhibit 1 is a true and correct copy of a Transcript of

Proceedings before the Court on February 3, 2023.

       4.      Attached hereto as Exhibit 2 is a true and correct copy of a letter which I sent to

Defendants’ counsel on February 9, 2023.

       5.      Attached hereto as Exhibit 3 is a true and correct copy of an email which I sent to

Defendants’ counsel on February 28, 2023.

       6.      Attached hereto as Exhibit 4 is a true and correct copy of Plaintiff’s Response to

Defendant’s Combined Motion to Dismiss, which was filed in the civil action Shimbly Corp. v.

Khanna, Case No, 2021-L-000211, in Cook County Circuit Court, on April 7, 2021.

       7.      Attached hereto as Exhibit 5 is a true and correct copy of the Complaint at Law

filed in the civil action Shimbly Corp. v. Khanna, Case No, 2021-L-000211, in Cook County

Circuit Court, on January 7, 2021.

       I hereby declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct. Executed on the 7th day of March 2023.



                                                         /s/ Hillard M. Sterling
                                                     HILLARD M. STERLING


Dated: March 7, 2023

HILLARD M. STERLING
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ATTORNEY FOR PLAINTIFF




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